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6                            UNITED STATES DISTRICT COURT

7                            EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,                  No. 2:13-cr-00084-GEB
10                   Plaintiff,
11          v.                                  ORDER DENYING DEFENDANT SHARMA’S
                                                MOTION TO SUPPRESS STATEMENTS
12   SURJIT SINGH, et al.,
13                   Defendants.
14

15

16                 Defendant    Anita        Sharma     moves   for    suppression      of
17   statements she made during her communication with two Federal
18   Bureau of Investigation (“FBI”) Special Agents.                  Defendant argues
19   her statements should be suppressed because when she made them
20   she was in the FBI Special Agents’ custody and had not been given
21   warnings required by Miranda v. Arizona, 384 U.S. 436 (1966); and
22   that   they    should     be   suppressed        because   the   methods   used    to
23   extract them violated the principle in the Fifth Amendment to the
24   United      States   Constitution         which     proscribes     coerced   self-
25   incrimination.       The       United    States    (“Government”)    opposes      the
26   motion arguing it is untimely, and even if it is not denied on
27   this ground it should be denied because Defendant was not in
28
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1    custody at the time of the subject communications, and therefore

2    the FBI Special Agents were not required to give her Miranda

3    warnings, and the statements were voluntarily given.

4                                       I. TIMELINESS

5                The Government argues the timeliness of the motion is

6    governed by Local Rule (“Local Rule”) 430.1 of this United States

7    District Court, and under this rule “if [Defendant] wanted to

8    move to suppress her statement[s], she [was required to file a

9    motion] on or before April 26, 2013.                 The motion [was] filed more

10   than four years later on September 10, 2017, [and] is untimely

11   and should be denied.”           Gov’t Opp. 4:25-27, ECF No. 95.

12               Rule     12(b)(3)(C)     of    the       Federal   Rules      of   Criminal

13   Procedure (“Rule”) prescribes that a motion to suppress evidence

14   “must be raised by pretrial motion if the basis for the motion is

15   then    reasonably      available    and       the    motion   can   be     determined

16   without    a   trial     on   the    merits.”           Further,     Rule      12(c)(1)

17   prescribes:      “The    court    may,    at    the     arraignment       or   as   soon

18   afterward as practicable, set a deadline for the parties to make

19   pretrial motions and may also schedule a motion hearing.                         If the

20   court does not set one, the deadline is the start of trial.”
21   Local Rule 430.1(c) prescribes “[a]ll pretrial motions shall be

22   filed   within     twenty-one      (21)   days       after   arraignment       unless a

23   different time is specifically prescribed by the Court.”                            EDCA

24   L.R. 430.1(c).       Defendant has not shown that Local Rule 430.1(c)

25   should not be enforced.           See generally, United States v. Lustig,

26   555 F.2d 737, 751 (9th Cir. 1977) (indicating that a district
27   court may enforce its local rule “for submission of proposed

28   instructions five days prior to trial . . . .”).
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1               The Government argues:

2               The court did not specifically prescribe a
                different time for the filing of suppression
3               motions and the deadline established by the
                Local Rule was April 26, 2013. Dkt. 9; EDCA
4               L.R. 430.1(c) (2017).     [Defendant] did not
                file a suppression motion by that deadline.
5               [Defendant]’s counsel likewise did not seek
                an extension of that deadline or an alternate
6               briefing    schedule  before   that    deadline
                expired. Indeed, it was not until more than
7               four years later that defense counsel first
                raised this issue at the September 8, 2017,
8               trial    confirmation  hearing.    The    Court
                appropriately refused to set such a schedule
9               at trial confirmation.
10   Gov’t Opp. 5:9-15, ECF No. 95.

11              Defendant contends her “motion to suppress is timely”

12   and, in any event, “that good cause exists for its filing.”        Mem.

13   Supp. Def.’s Req. Ct. Consider Her Mot. Suppress. 2:27, ECF No.

14   93-8.   Defendant fails to support her conclusory contention that

15   her motion is timely in light of the Rule 12 motion deadline

16   prescribed in Local Rule 430.1.       Defendant argues as follows that

17   application of Local Rule 430.1 would be unreasonable since she

18   has not exercised her right to a speedy trial:

19              In the case at bar, the notice of hearing and
                motion was filed six weeks prior to the start
20              of trial, and in advance of the motions in
                limine filing and hearing date. A practical
21              application of Local Rule 430.1 requiring
                pretrial   motions  within    21    days   after
22              arraignment is reasonable when a defendant is
                asserting their 6th Amendment Speedy Trial
23              right,   pursuant  to   Title    18   U.S.C.   §
                3161(c)(1). Local Rule of the United States
24              District Court Eastern District of California
                430.1(c) (2017).     Within the confines of
25              section 3161’s seventy-day time limitation,
                twenty-one days provides the court, the
26              government, and the defendant procedural
                safeguards.    In this case, time has been
27              excluded since the defendants were arraigned
                in this case. This Court should consider the
28              motion timely because the speedy trial clock
                                      3
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1                has not run and trial is still many weeks
                 away.
2
     Def.’s Resp. 4:17-5:2, ECF No. 96.
3
                 Defendant’s argument does not justify disregarding the
4
     Rule   12   motion   deadline   in   Local   Rule     430.1(c).      Nor   has
5
     Defendant filed a motion to extend time in which to file a Rule
6
     12 motion filed as required by Local Rule 430.1(f).                Therefore,
7
     Defendant’s suppression motion is untimely.
8
                 However,   “a   court    may   consider    [an   untimely      Rule
9
     12(b)(3) motion] if the party shows good cause.”             Fed. R. Crim.
10
     P. 12(c)(3).     Defendant contends she has good cause justifying
11
     excusing her late motion, explaining:
12
                 On March 14, 2013 the Government indicted
13               [Defendant] . . . . Dkt. 1.     On March 10,
                 2017 the court relieved [Defendant]’s prior
14               attorney and undersigned counsel became the
                 attorney of record for [Defendant] in this
15               action.    Dkt. 82.    At the March 10, 2017
                 hearing, the government provided defense
16               counsel with more than 11,000 pages of
                 discovery.    Declaration of Charles Woodson
17               (“Decl. Woodson”), ¶ 2 filed on September 10,
                 2017. Between March of 2017 and September of
18               2017,   undersigned   counsel  reviewed   the
                 discovery with [Defendant] using a court-
19               certified Punjabi interpreter.   On September
                 8, 2017 counsel informed the court of
20               [Defendant]’s intent to file a motion to
                 suppress. Id. ¶ 6.
21
     Mem. Supp. Def.’s Req. Ct. Consider Her Mot. Suppress. 1:24-2:5,
22
     ECF No. 93-8.    Defendant further argues:
23
                 [T]he Court should find good cause to allow
24               the motion to be heard based on counsel’s
                 diligence combing through the voluminous
25               discovery   and  the  significance  of   the
                 Constitutional right involved.  Furthermore,
26               the significant prejudice that [Defendant]
                 would face if this motion is not considered
27               and heard because of her prior counsel’s
                 failure to file it, far outweighs any
28               argument by the government that it would be
                                          4
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1               judicially inefficient to consider it at this
                late stage. The volume of discovery and the
2               continued production of discovery that is
                produced in a non-text searchable format
3               cannot be quickly digested.     To adequately
                review the discovery with a Punjabi speaking
4               client requires coordinating schedules and
                cannot always be quickly accomplished. With
5               motions in limine still to come and a hearing
                on those motions in limine that may require
6               evidentiary hearings, the timing of the
                motion to suppress may pose a slight burden
7               the court’s calendar but the failure to hear
                the motion will certainly have a prejudicial
8               effect on [Defendant]’s ability to preserve
                her rights at trial.
9
     Def.’s Resp. 5:3-13, ECF No. 96.
10
                The Government counters, arguing:
11
                Good   cause  does   not   exist   to  excuse
12              Defendant’s failure to comply with a deadline
                that expired more than four years ago.    The
13              only excuse Defendant offers for this delay
                was that new counsel needed to review
14              discovery when he substituted into this case
                in March of 2017.    Dkt. 93-8 at 3. (citing
15              Fed. R. Crim. P. 12).    That excuse does not
                establish good cause.   Indeed, that argument
16              completely ignores the fact that Defendant
                was represented by counsel at all times after
17              indictment, including when she was arraigned
                on April 5, 2013, when her lawyer was given a
18              copy of her confession on April 12, 2013, and
                when the deadline for the suppression motion
19              expired on April 26, 2013. . . . Throughout
                those four years, Defendant never requested
20              to file a suppression motion or amend the
                deadline.
21
                Moreover,    the   fact   that   new    counsel
22              substituted into the case on March 6, 2017,
                also does not establish the requisite good
23              cause. Defendant does not cite any authority
                claiming that the deadline was renewed when
24              new counsel was retained.          Dkt. 93-8.
                Additionally,    although  new   counsel    was
25              provided a copy of his client’s confession
                the day before he substituted into this case,
26              he did not immediately seek relief to file a
                belated suppression motion.       Instead, he
27              waited six months before raising this issue
                for the first time to the court at the trial
28              confirmation    hearing.     Such    delay   is
                                          5
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1                  inexcusable and cannot establish good cause.

2                  Defendant   argues   that  she    will   suffer
                   prejudice if the Court finds her motion
3                  untimely.   Dkt. 93-8 at 3.     As an initial
                   matter, that is not true as her Motion is
4                  without merit. In addition, an argument that
                   the Defendant would suffer prejudice does not
5                  establish   good   cause   or   constitute    a
                   legitimate basis to consider a motion four
6                  years after the deadline has passed. If that
                   was   the   standard,   deadlines    would   be
7                  meaningless as defendants could always argue
                   they would be prejudiced if their confessions
8                  were admitted into evidence.

9    Gov’t Opp. 5:16-6:10, ECF No. 95.

10                 Defendant has not shown good cause for the untimely

11   suppression motion sub judice.               Therefore, the motion is denied

12   because it was not timely filed and sufficient justification for

13   the late filing has not been provided.                     However, even assuming

14   that the merits of the motion should be determined, it will be

15   denied for the following reasons.

16                                       II. MERITS

17                 Decision on Defendant’s contentions that his statements

18   should be suppressed hinges on whether he was in the custody of

19   the Special Agents when he gave the statements or on whether the

20   statements      were   voluntary     within     the     meaning    of     the   Fifth

21   Amendment's self-incrimination clause.

22                 A. Factual Suppression Record

23                 The “essential [factual] findings,” Fed. R. Crim. P.

24   12(d), pertinent to decision on the motion are the following.                      On

25   August   3,    2010,   FBI   Special    Agents       Benjamin   Paulin     (“Special

26   Agent    Paulin”)      and   Gail      Paresa    (“Special        Agent     Paresa”;

27   collectively      “Special    Agents”)       drove    to    Defendant’s     home   to

28   interview her about matters underlying the instant case.                        Decl.
                                              6
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1    Benjamin Paulin (“Paulin Decl.”) ¶ 4, ECF No. 95-1.                                 Defendant

2    was not home.           The Special Agents subsequently drove to Gardner

3    Family Health Network (“Gardner”) in Gilroy, California, where

4    Defendant worked as a Dental Assistant.                        Id. ¶¶ 4-5; Decl. Anita

5    Sharma (“Def.’s Decl.”) ¶¶ 2-3, ECF No. 96-1.                        However, Defendant

6    was assisting a patient, Def.’s Decl. ¶ 4, and the Special Agents

7    therefore departed the premises, Paulin Decl. ¶ 7, after leaving

8    a    business    card,     Def.’s     Decl.       ¶   5.       Subsequently,        Defendant

9    called     Special       Agent     Paulin,    a       little      before    11   a.m.   that

10   morning, and they scheduled a time to speak later that day.

11   Paulin Decl. ¶ 7; see also Def.’s Decl. ¶ 6 (“I do not have a

12   specific memory of calling the agents on the telephone, but I do

13   remember them returning to my workplace to speak with me during a

14   time I was available.”).

15                 The Special Agents returned to Gardner later that day,

16   entered the building, and eventually “walked with [Defendant] to

17   the break-room in [her] office where [she] proposed the meeting

18   take place.”       Def.’s Decl. ¶ 7.              The Special Agents “indicated to

19   [Defendant]        that     they     preferred         to      conduct      [the]    meeting

20   privately.”        Id.; see also Paulin Decl. ¶ 13 (“[The Special
21   Agents] suggested that the interview take place in [Special Agent

22   Paulin’s] vehicle.”); Decl. Gail Paresa (“Paresa Decl.”) ¶ 6, ECF

23   No. 95-2; (“[The Special Agents] asked [Defendant] whether [they]

24   could talk in Special Agent Paulin's car.”).                         The Special Agents

25   were     dressed    in    suits,     and     their      weapons      were    not    visible.

26   Paresa     Decl.    ¶     11;    Paulin    Decl.       ¶    11.      They    “walked     with
27   [Defendant] from the break room to their unmarked car, which was

28   parked in the off street parking lot next to the building.”
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1    Def.’s Decl. ¶ 8; Paulin Decl. ¶ 13 (“[Defendant] agreed to the

2    interview   in   the   vehicle    and    went   to     the   vehicle   . . . .”).

3    “[Defendant] . . . agreed to be interviewed in the vehicle.                  [The

4    Special Agents] never said [Defendant] had to talk with [them].

5    [They] never ordered [Defendant] to speak with [them] or go into

6    the vehicle.”    Paulin Decl. ¶ 8.           “There were no indications that

7    it was a police vehicle.           For example, there was no cage or

8    outward markings.”     Paresa Decl. ¶ 9; see also Paulin Decl. ¶ 16.

9    “The doors of the vehicle were unlocked . . . .”                   Paulin Decl. ¶

10   17.

11               “[Defendant]    sat    in    the    back    of   the    car   . . .   ,

12   [Special Agent Paulin] sat next to her . . . , [and] Special

13   Agent Paresa sat in the front seat.”            Paulin Decl. ¶ 18; see also

14   Paresa Decl. ¶ 16.         “[Special Agent Paulin] did most of the

15   questioning and took notes.             Special Agent Paresa asked a few

16   questions and took down a few statements made by [Defendant]

17   during the course of the interview.”            Paulin Decl. ¶ 19; see also

18   Paresa Decl. ¶ 17.         The Special Agents did not tell Defendant

19   “that [she] did not have to answer their questions” or that “she

20   was free to go or end the interview at any time,” Def.’s Decl. ¶
21   9, but they also “never told [Defendant] that she was under

22   arrest or that she was not free to go,” Paresa Decl. ¶ 10; see

23   also Paulin Decl. ¶ 20.           “[The Special Agents] never touched

24   [Defendant,] and she was never restrained in any manner.”                  Paulin

25   Decl. ¶ 14; see also Paresa Decl. ¶ 15.

26               The interview lasted “approximately one hour.”                 Def.’s
27   Decl. ¶ 9; see also Paresa Decl. ¶ 14 (“forty-five minutes to an

28   hour”); Paulin Decl. ¶ 20 (“forty-five minutes to an hour”).
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1    “[The Special Agents] did not . . . raise [their] voices during

2    the interview.”       Paulin Decl. ¶ 21.          “[They] calmly and politely

3    asked questions and [Defendant] answered the questions.”                        Paresa

4    Decl. ¶ 20; see also Paulin Decl. ¶ 21; Mot. Suppress Statements

5    8:16-23,    ECF     No.    93    (conceding       “the     Agents      demeanor      and

6    communications may have been cordial” and that questions may have

7    been asked “in a casual tone”).               Some of the questions related to

8    documents, which Special Agent Paulin showed Defendant during

9    questioning.       Paulin Decl. ¶ 22; see also Paresa Decl. ¶ 20.

10   Defendant “never asked for a lawyer,” but she did ask “whether

11   she needed legal representation.”                Paulin Decl. ¶ 29; see also

12   Paresa Decl. ¶ 13.         “[Special Agent Paulin] told her that [he]

13   could not provide her with any legal advice.”                  Paulin Decl. ¶ 29;

14   see also Paresa Decl. ¶ 13.             “During the course of the interview,

15   [Special    Agent     Paresa]     presented       [handwritten         summaries      of

16   Defendant’s] statements to her.”                 Paresa Decl. ¶ 17.            Special

17   Agent Paresa had Defendant “initial[] next to each statement.”

18   Id.   Special Agent Paresa also gave Defendant “the opportunity to

19   correct each of the statements before initialing.”                     Id.     “At the

20   end [of the interview], [Special Agent Paresa] gave [Defendant]
21   the   entire   document     to   sign.”        Id.      That   document      “did    not

22   include    every    question     that    was    asked    and   every    answer      that

23   [Defendant] gave [the Special Agents].”                  Def.’s Decl. ¶ 12.          The

24   Special Agents did not tell Defendant she “did not have to sign

25   the document.”       Id.

26               “About     halfway     through       questioning        [Special      Agent
27   Paulin] told [Defendant] not to lie,” Def.’s Decl. ¶ 10, to “take

28   this seriously,” Paulin Decl. ¶ 23, or that “this [is] a serious
                                               9
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1    matter,” Paresa Decl. ¶ 21, in response to an answer in which he

2    felt Defendant was withholding information, Paulin Decl. ¶ 23.

3    Special Agent Paulin told Defendant “that [she] could go to jail

4    for    30   years,”    Def.’s    Decl.          ¶    10,     or   that     “it     appeared

5    [Defendant]      had   committed       a        crime,”       Paulin       Decl.    ¶    23.

6    “[Defendant] then became very emotional and cried.                          [The Special

7    Agents] questioned [Defendant] while [she] cried and after [she]

8    stopped crying.”       Def.’s Decl. ¶ 10.                  Defendant also told the

9    Special Agents several times that she “had to return to work but

10   each time [they] told [her] they had more questions.”                                Def.’s

11   Decl. ¶ 11.       Defendant declares “[she] did not feel like [she]

12   had the ability to leave until they considered themselves done

13   with    their    questions.”    Id.    Special         Agent       Paresa    avers       that

14   “[Defendant] could have left at any time and gone back into her

15   place of employment.”           Paresa Decl. ¶ 7.                   Defendant was not

16   arrested after the interview.          Id. ¶ 14.

17               Defendant’s motion also contains evidence on what she

18   contends are her individual characteristics which she opines are

19   relevant to her contention that her statements were the product

20   of law enforcement coercion, and therefore were voluntary within
21   the meaning of the Fifth Amendment's due process clause.

22               “Punjabi is [Defendant’s] primary language,” and she

23   has    “always    spoken   [Punjabi]       at       home.”        Def.’s    Decl.    ¶   17.

24   Defendant has failed “the Dental Board of California's Registered

25   Dental Assistant Law and Ethics exam,” and states that this is

26   because “[she] did not understand all of the questions written in
27   English.”        Id. ¶ 16.      Defendant’s attorney also declares he

28   “reviewed the discovery with [her] using the services of a Court
                                                10
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1    certified Punjabi interpreter,” Decl. Charles J.S. Woodson ¶ 4,

2    ECF No. 93-1, and Defendant avers she “used a Court certified

3    Punjabi interpreter to review and execute” the declaration in

4    which she set forth her version of these events, Def.’s Decl. ¶

5    18.     However, during the interview “[Defendant] . . . responded

6    [to questions] in English”; “spoke very good English”; “never

7    said that she had difficulty speaking English”; and “never said

8    she needed an interpreter.”             Paresa Decl. ¶ 18; see also Paulin

9    Decl. ¶ 24 (“[Defendant] spoke English to us.                         She answered

10   questions in English. . . . At no time, did she tell us that she

11   could not speak or read English.                She never once asked for an

12   interpreter.”).            Special      Agent        Paulin   later    interviewed

13   Defendant’s former employer at Gardner.                 Paulin Decl. ¶ 33.        The

14   employer       stated     that     during      her     employment     “[Defendant]

15   interacted with clients and staff in English,” and that “the

16   ability to read and write in English was a requirement of the

17   job.”    Id.     “She spoke English and wrote in patients' charts in

18   English.”       Id.     “[A]n individual who prepared tax returns for

19   [Defendant] . . . said that . . . in the time period of 2006-07,

20   [Defendant] spoke and read English.”                 Id. ¶ 34.
21               Defendant also attaches police reports to her motion

22   documenting domestic violence of which she was the victim.                        Ex.

23   D—Police    Records,      ECF    No.   93-5.     Defendant       indicates   in   her

24   motion that this violence had a bearing on the voluntariness of

25   her statements.         Mot. Suppress Statements 6:22-7:6.            The earliest

26   record is from October of 1998 and establishes that Defendant
27   requested a ride to a Gilroy police station to meet with an

28   organization representative who could arrange alternate housing
                                              11
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1    for her; and also that she was unwilling to pursue her husband’s

2    prosecution.      Id. at 2.    In later incidents, Defendant received

3    emergency protective orders.           See, e.g., Id. at 3, 6, 8.              A

4    report of a May 2005 domestic violence incident evinces that

5    Defendant’s    husband   had   been    arrested     several   times    for    the

6    domestic violence incidents and convicted of a related crime on

7    at least one occasion. Id. at 7.             Defendant’s husband was also

8    arrested for the May 2005 incident.              Id. at 8.    Only one of the

9    reports mentions the presence of someone for language translation

10   purposes.    Id. at 5.

11               B. Miranda: Custody Determination

12               Defendant argues she was in the Special Agents’ custody

13   when she communicated with them.           “Once law enforcement officers

14   take suspects into custody, [under the holding in Miranda,] the

15   officers    may    not   interrogate       the     suspects   without       first

16   exercising certain procedural safeguards, including informing the

17   suspects of their rights to remain silent and to have an attorney

18   present.”     United States v. Washington, 462 F.3d 1124, 1132 (9th

19   Cir. 2006) (citing Miranda, 384 U.S. at 444).

20               “Miranda . . . sweeps more broadly than the
                 Fifth   Amendment   itself. . . .  The   Fifth
21               Amendment prohibits use by the prosecution in
                 its   case   in   chief   only  of   compelled
22               testimony. Failure to administer Miranda
                 warnings creates a presumption of compulsion.
23               Consequently, unwarned statements that are
                 otherwise voluntary within the meaning of the
24               Fifth Amendment must nevertheless be excluded
                 from evidence under Miranda.”
25
     Oregon v. Elstad, 470 U.S. 298, 306–07 (1985).                “In determining
26
     whether an individual was in custody, a court must examine all of
27
     the   circumstances      surrounding       the    interrogation,      but    ‘the
28
                                           12
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1    ultimate inquiry is simply whether there [was] a “formal arrest

2    or restraint on freedom of movement” of the degree associated

3    with a formal arrest.’”         Stansbury v. California, 511 U.S. 318,

4    322 (1994) (quoting California v. Beheler, 463 U.S. 1121, 1125

5    (1983)   (per    curiam)).           “A     defendant      is    in    custody        if     a

6    ‘reasonable innocent person in such circumstances would conclude

7    that after brief questioning he or she would not be free to

8    leave.’” United States v. Bassignani, 575 F.3d 879, 883 (9th Cir.

9    2009) (quoting United States v. Booth, 669 F.2d 1231, 1235 (9th

10   Cir. 1981)).     “The custody determination is objective and is not

11   based    upon   ‘the     subjective        views     of    the    officers       or        the

12   individual being questioned.’”                   Id. (quoting United States v.

13   Kim, 292 F.3d 969, 973 (9th Cir. 2002)).                   The Ninth Circuit has

14   “identified five factors relevant to the custody determination:

15   ‘(1) the language used to summon the individual; (2) the extent

16   to which the defendant is confronted with evidence of guilt; (3)

17   the physical surroundings of the interrogation; (4) the duration

18   of the detention; and (5) the degree of pressure applied to

19   detain the individual.’”        Id. (quoting Kim, 292 F.3d at 974).

20              In the Ninth Circuit, which party bears the burden of
21   showing a defendant was in custody at the time of questioning is

22   an unresolved question.            The Government cites a discussion of

23   Bassignani,     560     F.3d   989        (9th    Cir.),    opinion      amended           and

24   superseded on denial of reh’g, 575 F.3d 879 (9th Cir. 2009), in

25   which    the    Ninth    Circuit      amended       its    opinion       and     removed

26   discussion allocating the burden to defendants.                       See Gov’t Opp. 7
27   n. 2.    Although there is no in-circuit precedent, the Government

28   cites Fifth and Eighth Circuit decisions that place the burden on
                                                13
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1    a defendant. Id. at 6:24-7:2 (citing United States v. Jorgensen,

2    871 F.2d 725, 729 (8th Cir. 1989); United States v. Davis, 792

3    F.2d 1299, 1308 (5th Cir. 1986)).                   Defendant does not cite any

4    authority, but argues: “Understanding that they wield a great

5    amount of control over the situation, it is only reasonable that,

6    especially in situations where they decide not to issue Miranda

7    warnings, [the Government] then shoulder[s] the burden of proving

8    that the encounter was not custodial.”                    Def.’s Resp. 6:18-8:20.

9    The question of who bears the burden will not be resolved here

10   because,     even    assuming       the   Government      bears    the    burden,    the

11   Government has satisfied that burden.

12                The Ninth Circuit first adopted an early formulation of

13   the relevant considerations Bassignani applies in Lowe v. United

14   States, 407 F.2d 1391, 1397 (9th Cir. 1969), which adopted them

15   from the California Supreme Court, People v. Arnold, 426 P.2d 515

16   (Cal.   1967).       The     factors      were   later    reformulated      by   United

17   States v. Luther, 521 F.2d 408, 410 (9th Cir. 1975) (citing Lowe,

18   407   F.2d   at     1397),    and    further       refined   in   United    States   v.

19   Wauneka, 770 F.2d 1434, 1438 (9th Cir. 1985), which made slight

20   linguistic    alterations       and       placed    the   factors    in    their    now-
21   familiar enumerated list.

22                The    first    Wauneka       factor    is   “the    language   used    to

23   summon the individual.”             770 F.2d at 1438.        Defendant argues:

24                [Defendant] asked the agents to have a
                  meeting in her office’s break-room but the
25                agents declined . . . . The agents took
                  [Defendant] to their duty vehicle where
26                [Defendant] was isolated from her co-workers
                  and kept in the private company of the
27                agents.   The duty vehicle was parked in an
                  off-street parking lot.  Though, [Defendant]
28                may not have been handcuffed and though she
                                       14
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1                 may not have been officially “under arrest,”
                  the agents did not expressly make a point to
2                 notify her that the doors of the car would
                  remain unlocked and that she was free to
3                 leave at any point during the interview.
                  Most tellingly, when [Defendant] told the
4                 agents she had to go back to work, rather
                  than   immediately,   and   without   further
5                 question, ending the interview, the agents
                  kept asking her questions.     Their behavior
6                 indicated that [Defendant] was not, in fact,
                  free to leave.     Furthermore, through both
7                 their words and their actions, [Defendant]
                  did not believe she could exit the car until
8                 she signed the agents’ document.

9    Def.’s Resp. 7:11-21.       The Government counters:

10                The special agents told [Defendant] that they
                  would like to speak with her.    They did not
11                demand to speak with her.       They did not
                  remove her from her place of employment while
12                she was working.   Prior to the meeting, the
                  Defendant and Special Agent Paulin arranged a
13                time to talk. The interview was done during
                  a break from work and the Defendant went back
14                to work signaling it was going to be of
                  limited duration.     Unlike in Bassignani,
15                Defendant was not instructed or ordered to go
                  with the special agents.     Bassignani, 575
16                F.3d at 884.   She voluntarily went with the
                  special agents understanding that questioning
17                would ensue. Kim, 292 F.3d at 974.

18   Gov’t Opp. 9:11-17.         This factor concerns the communication the

19   Special Agents used to initiate the encounter.                    Bassignani, 575

20   F.3d    at   884   (“Here   . . .    the     detectives,     after    approaching

21   Bassignani from behind and asking him to ‘remove himself from the

22   computer,’ ‘instructed’ Bassignani to go to the conference room.

23   An ‘instruction’ is short of an ‘order,’ but it is plain that

24   Bassignani did not voluntarily ‘agree to accompany’ the officers

25   to the conference room.”).           The declarations in this case make

26   clear that while Defendant “proposed the meeting take place [in

27   the office break room],” Def.’s Decl. ¶ 7, “[the Special Agents]

28   asked   [Defendant]    whether      [they]    could   talk   in    Special   Agent
                                            15
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1    Paulin's   car”     instead,     and   “[Defendant]   . . .    agreed    to   be

2    interviewed in the vehicle.              [The Special Agents] never said

3    [Defendant]   had    to   talk    with    [them].     [They]   never    ordered

4    [Defendant] to speak with [them] or go into the vehicle.”                Paulin

5    Decl. ¶ 8.    This factor weighs against a finding that Defendant

6    was in custody.

7               The second Wauneka factor is “the extent to which the

8    defendant is confronted with evidence of guilt.”                770 F.2d at

9    1438.   Defendant argues:

10              During    the    interrogation,    the   agents
                presented   [Defendant]   with a number of
11              documents.    The agent told her he believed
                she committed a crime.      The nature of the
12              questions     and     circumstance     prompted
                [Defendant] to ask the agents if she needed
13              legal counsel.    [Defendant] became emotional
                and cried during the encounter with the
14              agents. [Defendant] began to cry when the
                agents told her not to lie and suggested that
15              she could go to jail for 30 years.
16   Def.’s Resp. 7:23-8:4.         The Government counters:

17              After   taking   a   break   from  work   and
                voluntarily going with the agents, Defendant
18              . . .   was politely and cordially asked
                questions and she answered them.     She was
19              shown documents that were involved in her
                fraud but she was not confronted with them.
20              To the contrary, she answered questions about
                them willingly.    She was not threatened or
21              tricked. The special agents “did not attempt
                to challenge [Defendant’s] statements with
22              other ‘known facts’ suggesting [her] guilt,
                they merely asked [her] questions about the
23              allegations.” United States v. Norris, 428
                F.3d 907, 912 (9th Cir. 2005).      The only
24              issue   on   which   the   agents  challenged
                [Defendant] concerned the identity of Surjit
25              as they felt she was not being forthcoming.
                However, even in that part of the interview
26              she was not challenged with evidence of her
                guilt but was simply told this was a serious
27              matter and one of the agent’s believed she
                had committed a crime.
28
                                              16
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1    Gov’t    Opp.    9:22-10:5.           The    focus       concerning      the     degree       of

2    confrontation with evidence of guilt factor includes evaluation

3    of     whether    law        enforcement         officers’        communications            were

4    “aggressive, coercive, [or] deceptive.”                     Bassignani, 575 F.3d at

5    884.     This is an objective enquiry. Id. at 883.                            In this case

6    “[the Special Agents] did not . . . raise [their] voices during

7    the interview.”         Paulin Decl. ¶ 21.            “[They] calmly and politely

8    asked questions and [Defendant] answered the questions.”                               Paresa

9    Decl. ¶ 20; see also Paulin Decl. ¶ 21; Mot. Suppress Statements

10   8:16-23.        Some   of     the    questions      related       to   documents,       which

11   Special Agent Paulin showed Defendant in connection with those

12   questions.       Paulin       Decl.    ¶    22;    see    also    Paresa       Decl.    ¶    20.

13   Defendant does not contend that the Special Agents were deceptive

14   or   otherwise     lied.        At    one    point,      Special       Agent    Paulin       did

15   confront Defendant more forcefully.                  “[Special Agent Paulin] told

16   [Defendant]      not    to    lie,”       Def.’s    Decl.     ¶    10,   to     “take       this

17   seriously,” Paulin Decl. ¶ 23, or that “this [is] a serious

18   matter,” Paresa Decl. ¶ 21, in response to an answer in which he

19   felt Defendant was withholding information, Paulin Decl. ¶ 23.

20   He told Defendant “that [she] could go to jail for 30 years,”
21   Def.’s Decl. ¶ 10, or that “it appeared [Defendant] had committed

22   a crime,” Paulin Decl. ¶ 23.

23                Guidance for determination of this factor is provided

24   in Bassignani, where the District Court found “that Bassignani

25   was ‘extensive[ly] questioned about evidence of [his] guilt;’”

26   however    the     Ninth      Circuit        “disagree[d]         with    [the     District
27   Court’s] legal conclusion that [this factor] weigh[ed] in favor

28   of   finding     Bassignani         was     in    custody.”        575     F.3d    at       885.
                                                  17
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1    Considering the totality of the interview, which contains one

2    confrontational interlude that does not contaminate the whole

3    interview,   this   factor   weighs    against    finding   Defendant   in

4    custody.

5               The third Wauneka factor is “the physical surroundings

6    of the interrogation.”     770 F.2d at 1438.     Defendant argues:

7               The Agents took [Defendant] out of her office
                and questioned her while she was isolated in
8               their duty vehicle for more than 45 minutes.
                The agents never offered [Defendant] the
9               assistance of an interpreter.      [Defendant]
                told the agents that she had to go back to
10              work, yet the agents continued to question
                her. When [Defendant] asked if she needed
11              legal counsel, the agents continued to
                question her. At the end of the interview
12              Agent Paresa gave [Defendant] a document to
                sign and [Defendant] did not feel she could
13              leave the car until she signed the document.
14   Def.’s Resp. 8:6-11.     The Government counters:

15              The Defendant was questioned right outside
                her place of employment in a public parking
16              area for her convenience. The Ninth Circuit
                has held that an interrogation conducted in
17              familiar surroundings weighs against finding
                that    the    Defendant  was   in   custody.
18              Bassignani, 575 F.3d at 885 (citing United
                States v. Eide, 875 F.2d 1429, 1437 (9th Cir.
19              1989)).    Defendant was not isolated and at
                any time could have returned to her place of
20              employment where there were not any agents or
                officers.     The vehicle was a normal car
21              without police markings, cages, or gun racks.
                The agents did not have any weapons visible.
22              The doors of the vehicle were not locked and
                the Defendant was not handcuffed, as would
23              have been the case if she had been arrested.
                After the interview was done during her
24              break, she was able to leave and go back to
                work.
25
                Courts have held that questioning a person in
26              the back of a police vehicle does not put her
                in custody for purposes of giving Miranda
27              warnings.   See Burlew v. Hedgpeth, 448 Fed.
                Appx.   663,    664-65    (9th    Cir.   2011)
28              (unpublished)    (upholding    state   court’s
                                      18
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1              determination that defendant was not in
               custody when sitting in back of patrol car as
2              he was not handcuffed and not told he was
               under arrest and      the interrogation was
3              nonconfrontational); United States v. Jones,
               523 F.3d 1235, 1235-42 (10th Cir. 2008) (“it
4              was perfectly sensible for [officer] to be
               cognizant of Jones’s privacy and ask to speak
5              inside his car, thus preventing passerby from
               learning of Jones’s methamphetamine use”);
6              United States v. Murray, 89 F.3d 459, 462
               (7th Cir. 1996) (holding defendant not in
7              custody when questioned in back of squad
               car); United States v. Boucher, 909 F.2d
8              1170, 1173-74 (8th Cir. 1990) (same); United
               States v. Hudgens, 798 F.2d 1234, 1237 (9th
9              Cir. 1986) (fact that defendant’s voluntary
               statements made in a police car did not
10             render them inadmissible). The Ninth Circuit
               has held that a defendant was in custody when
11             he was “questioned by an FBI agent while
               sitting handcuffed in the back of a police
12             car.”    United States v. Henley, 984 F.2d
               1040, 1042 (9th Cir. 1993).     However, this
13             case is distinguishable as [Defendant] was
               never handcuffed or not allowed to leave.
14
     Gov’t Opp. 10:8-11:2.
15
               Defendant     was    interviewed      in    an   unmarked   law
16
     enforcement vehicle “parked in the off street parking lot next to
17
     the [Gardner] building.” Def.’s Decl. ¶ 8.           This arrangement may
18
     be more familiar than some alternatives, but the Special Agents
19
     still controlled the space in which the interaction occurred.
20
     The Ninth Circuit observed in Burlew that the question of whether
21
     a defendant was in custody in the back of a police car could be a
22
     “close” question.     Burlew, 448 Fed. Appx. at 664 (unpublished).
23
     The Ninth Circuit found important in Burlew that “Burlew was not
24
     handcuffed,” and “that [the officer’s] interaction with Burlew
25
     was nonconfrontational.”       Id.    In light of the foregoing, the
26
     physical surroundings of the interrogation are a neutral factor,
27
     not weighing in favor of a finding for or against custody.
28
                                          19
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1              The    fourth   Wauneka   factor   is   “the   duration   of   the

2    detention.”     770 F.2d at 1438.   Defendant argues only that

3              [i]nstead of posing questions to [Defendant]
               in the familiar setting of the breakroom at
4              her office, it was the agents who urged that
               the questioning take place in their car.
5              Without the benefit of a Miranda warning,
               sitting   in  the   isolated setting   of  a
6              government car, [Defendant] was questioned
               for at least 45 minutes.
7
     Def.’s Resp. 8:14-17.     The Government counters:
8
               Both Special Agents recall the interview
9              lasting 45-60 minutes.    As [Defendant] was
               taking a break from work, the interview was
10             going to have limited duration. Without any
               evidentiary   support,   Defendant’s   Motion
11             claims that the duration was “more than 60
               minutes.”   Motion at 3.    The Ninth Circuit
12             has found a defendant not in custody when he
               was questioned for “more than one hour,”
13             United States v. Crawford, 372 F.3d 1048,
               1052 (9th Cir. 2004), and “approximately 45
14             minutes,” Noriss, 428 F.3d at 911; cf. United
               States v. Haswood, 350 F.3d 1024, 1027 (9th
15             Cir. 2003) (in assessing whether a confession
               was involuntary stating “[e]ven if we assume
16             that the interrogation lasted all day,
               . . . . coercion typically involves far more
17             outrageous conduct”). In contrast, the Ninth
               Circuit has found a defendant in custody when
18             she was interrogated for 45 to 90 minutes.
               Kim, 292 F.3d at 972; see also United States
19             v. Beraun-Perez, 812 F.2d 578, 579 (9th Cir.
               1987) (accused was in custody during an
20             interrogation that lasted between half an
               hour and an hour and a half). In another
21             case, the court found the defendant was not
               in custody after a two-and-a-half hour
22             interrogation although the court stated that
               length weighed in favor of finding the
23             defendant was in custody as it was “at the
               high end.”    Bassignani, 575 F.3d at 886.
24             Given that [Defendant]’s interview lasted was
               (sic)somewhere between 45 minutes to an hour,
25             this factor is neutral on the issue as to
               whether the Defendant was in custody.
26
     Gov’t Opp. 11:6-20.       This factor does not weigh in favor of or
27
     against finding Defendant was in custody.
28
                                         20
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1               The final Wauneka factor is “the degree of pressure

2    applied to detain the individual.”             770 F.2d at 1438.           Defendant

3    omits   discussion    of   this    factor.          See   Def.’s   Resp.    8.     In

4    Bassignani,    when   considering       this    factor,      the   Ninth     Circuit

5    evaluated whether the defendant was told he was free to go or

6    that he was not under arrest and whether he was restrained.                       Id.

7    at 886.

8               The Government argues:

9               The   Defendant   was  not   pressured.   The
                Defendant was never told that she was under
10              arrest. She was not threatened. She was never
                taken away from her place of employment. The
11              interview was prearranged. The doors of the
                vehicle where the interview took place were
12              always unlocked. She was never touched or
                physically restrained. The agents did not
13              restrain her freedom of movement at all, let
                alone to the degree associated with a formal
14              arrest.
15   Gov’t   Opp.   11:23-27.      As   in   Bassignani,        Defendant    was      never

16   explicitly told she was free to go at any time and she was never

17   restrained, but in Bassignani “[the officer] . . . emphasize[d]

18   in the first two minutes of the interview that Bassignani was not

19   under arrest and would not be arrested.”                  575 F.3d at 886.         The

20   Special Agents in the instant matter were silent about the arrest
21   issue and whether Defendant could leave at any time.                   This factor

22   too is neutral as to the custody determination.

23              Although    only   two    of      five    factors   weigh    against      a

24   finding that Defendant was in custody, no factor favors an in-

25   custody finding.      In Bassignani, three factors weighed against

26   finding the defendant was in custody during questioning, but two
27   factors favored an in-custody finding.                575 F.3d at 884-86.         The

28   Bassignani court found the defendant was not in custody.
                                             21
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1                 “[B]ased    on     a    review    of    the    totality       of   the

2    circumstances” the facts do not “show a ‘restraint on freedom of

3    movement of the degree associated with a formal arrest.’”                   Id. at

4    887 (quoting Kim, 292 F.3d at 973).            This is not a case where “a

5    reasonable innocent person . . . would conclude that after brief

6    questioning [she] would not be free to leave.”               Kim, 292 F.3d at

7    978 (alteration in original) (quoting Booth, 669 F.2d at 1235).

8                C. Voluntariness

9                Defendant    also       argues    her    statements      should      be

10   suppressed     because    they      were     the    involuntary     product      of

11   governmental coercion.        “[N]oncustodial interrogation . . . , by

12   virtue of some special circumstances, [might] be characterized as

13   one where ‘the behavior of . . . law enforcement officials was

14   such as to overbear petitioner’s will to resist and bring about

15   confessions not freely self-determined . . . .’”                    Beckwith v.

16   United States, 425 U.S. 341, 347–48 (1976) (quoting Rogers v.

17   Richmond, 365 U.S. 534, 544 (1961)).                 “[W]herever a question

18   arises whether a confession is incompetent because [it was] not

19   voluntary, the issue is controlled by that portion of the Fifth

20   Amendment . . . commanding that no person ‘shall be compelled in
21   any criminal case to be a witness against himself [or herself].’”

22   Missouri v. Seibert, 542 U.S. 600, 607 (2004) (quoting Bram v.

23   United States, 168 U.S. 532, 542 (1897)).                   “A parallel rule

24   governing    the    admissibility      of    confessions    in     state    courts

25   emerged from the Due Process Clause of the Fourteenth Amendment,”

26   and the “Fifth and Fourteenth Amendment voluntariness tests” are
27   now unified.      Id. at 607.

28               “In    evaluating    voluntariness,       the   test    is     whether,
                                            22
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1    considering the totality of the circumstances, the government

2    obtained the statement by physical or psychological coercion or

3    by improper inducement so that the suspect’s will was overborne.”

4    United States v. Bautista, 362 F.3d 584, 589 (9th Cir. 2004)

5    (quoting United States v. Male Juvenile, 280 F.3d 1008, 1022 (9th

6    Cir. 2002)).    “The government must prove that a confession [was]

7    voluntary by a preponderance of the evidence.”          United States v.

8    Tingle, 658 F.2d 1332, 1335 (9th Cir. 1981) (quoting Lego v.

9    Twomey, 404 U.S. 477, 489 (1972)).

10             In determining whether a defendant's will was
               overborne in a particular case, [a c]ourt
11             . . . assesse[s] the totality of all the
               surrounding       circumstances—both      the
12             characteristics of the accused and the
               details of the interrogation.     Some of the
13             factors taken into account have included the
               youth of the accused; his lack of education;
14             or his low intelligence; the lack of any
               advice to the accused of his constitutional
15             rights; the length of detention; the repeated
               and prolonged nature of the questioning; and
16             the use of physical punishment such as the
               deprivation of food or sleep.
17
     Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973) (internal
18
     citations and footnote omitted).         The voluntariness cases do not
19
               [t]urn[] on the presence or absence of a
20             single controlling criterion; each reflect[s]
               a careful scrutiny of all the surrounding
21             circumstances. . . . [The] Due Process Clause
               [does not] require[] the prosecution to prove
22             as part of its initial burden that the
               defendant knew he had a right to refuse to
23             answer the questions that were put.     While
               the state of the accused’s mind, and the
24             failure of the police to advise the accused
               of his rights, [are] certainly factors to be
25             evaluated in assessing the ‘voluntariness’ of
               an accused’s responses, they [are] not in and
26             of themselves determinative.
27   Id. at 226–27 (internal citations omitted).

28             Defendant cites several cases in her motion, but her
                                         23
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1    arguments often conflate the      voluntariness question with custody

2    arguments.   See generally Mot. Suppress Statements, ECF No. 93.

3    Defendant’s most coherent version of her argument is what follows

4    in her reply:

5              [The] confession was not voluntary. She sat
               isolated in a government vehicle with two FBI
6              agents for nearly an hour.      [Defendant’s]
               confession was the result of the agents’
7              conduct, and the agents’ questions in English
               hindered [Defendant’s] ability to comprehend
8              the questions and competently communicate.
               The questioning of [Defendant] in English
9              diminished [her] capacity to understand and
               diminished her ability to respond to the
10             agents’ questions.
11             Though    the     agents    suggest    they    had
               expectations    that    [Defendant]    reads   and
12             understands English, the agents did not know
               how   well    she   understands    and    commands
13             English.    The fact that India is a former
               British colony lends no credence to the idea
14             that people in India speak English. That is
               just as ridiculous as saying Santa Ana,
15             California was part of Mexico so people from
               Santa Ana should know Spanish. Just because
16             [Defendant’s] children went to school in the
               United States has no bearing on the language
17             she speaks at home, or to her children and
               relatives. [Defendant] did not have to pass
18             an English language exam to gain employment
               at Gardner.     [Defendant] failed the Dental
19             Board   of   California’s     Registered    Dental
               Assistant Law and Ethics exam because she did
20             not understand the questions in English.
21             The agents draw the conclusion based on
               whether [Defendant] did not read certain
22             documents without recognizing she has limited
               English literacy skills. To communicate with
23             [Defendant], undersigned counsel requires the
               assistance of a Punjabi interrupter (sic),
24             which the court also requires. Dkt. 9. What
               reasonable assurance can the court have that
25             [Defendant] voluntarily waived constitutional
               right to remain silent when the incriminating
26             statement    was     obtained   without    an
               interpreter?     The agents notes indicate
27             Punjabi,   and    the    agents  were   aware
               [Defendant] speaks another language.        A
28             waiver of a constitutional right should come
                                     24
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1              with adequate assurances that the waiver is
               voluntary.       [Defendant’s]   ability   to
2              comprehend and provide knowing and voluntary
               answer depends on her ability to understand
3              the   question   presented.      Essentially,
               [Defendant’s] competence is in question when
4              she is not being assisted by an interpreter.

5    Def.’s Resp. 8:23-10:1.

6              In addition, [Defendant] is the victim of
               domestic    violence,    which    plagued    her
7              marriage, culminating in her ex-husband’s
               arrest and prosecution, and their divorce.
8              As a victim of repeated domestic violence,
               including psychological abuse and sexual
9              violence [Defendant] may experience higher
               stress levels and anxiety in stressful
10             situations (such as being questioned by law
               enforcement officers, who are questioning her
11             within the confines of a vehicle, after they
               have just escorted her from her workplace in
12             full view of her colleagues).       In order to
               endure   the   stressful   event,    [Defendant]
13             likely became compliant, agreeing to comply
               in all respects, including the signing of a
14             statement in English which she could not
               fully comprehend, for the sole purpose of
15             ending the stressful event.

16   Mot. Suppress Statements 6:21-7:6.       The Government counters:

17             In this case, there was no evidence of
               physical or psychological coercion.       The
18             agents never touched [Defendant]. They never
               threatened [her]. They merely asked questions
19             and [Defendant] answered them. They did not
               try to trick [her] or coerce her in a
20             psychological manner.    The duration of the
               questioning was between forty-five minutes
21             and an hour so it was not overly long.    The
               Defendant   provides  no   evidence  to   the
22             contrary.    In fact, the Defendant in her
               Motion admits that “the Agents demeanor and
23             communications may have been cordial” and
               that the questions may have been “in a casual
24             tone.”   Motion at 8.   Even in the Fox case
               Defendant cites, where [a] defendant was
25             detained for four and a half hours while
               armed officers performed a sweep of his boat,
26             was questioned twice, and was confronted with
               inculpatory information, the court held that
27             the statement was voluntary and did not
               violate the Fourteenth Amendment as his “will
28             was not overborne.” Fox, 216 F. Supp. 3d at
                                         25
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1              1233-34.

2              . . . [T]he circumstances of her interview
               show her will was not overborne.          For
3              example, [Defendant] did not provide all the
               information that the agents would have
4              wanted.   She did not provide Surjit’s last
               name. Dkt. 93-2. She said that she did not
5              read certain documents.   Dkt. 93-2.   If the
               agents were coercing the Defendant and the
6              Defendant had become “compliant, agreeing to
               comply in all respects,” her confession would
7              have been a better one.

8              [Defendant]’s background and characteristics
               do not suggest that her will was overborne by
9              the agents’ cordial, casual questioning.
               [Defendant] was a woman in her late forties
10             at the time of her interview.           She was
               working as a long time dental assistant in an
11             English speaking office.          She had two
               children who were being educated in the
12             United States.        She had been formally
               educated in India. She had owned a home and
13             purchased five more. She and her husband had
               separated several years before the interview.
14             Contrary to what she repeatedly argues in her
               Motion,   she   spoke    English.      She   was
15             knowledgeable enough about the law to ask in
               English     whether     she     needed     legal
16             representation    and    then   in   the    next
               conversation with Special Agent Paulin to say
17             she wanted an attorney.

18             Even the records of the Defendant’s spousal
               abuse do not support her claim that her will
19             was overborne.    She had reached out to law
               enforcement herself as early as 1998.    Dkt.
20             93-5.    She sometimes stood up for herself
               with her husband and sometimes pressed
21             charges.    Dkt. 93-5.   If a member of law
               enforcement asked her questions, she would
22             sometimes decline to answer them if she
               wanted.     Dkt. 93-5.     For example, she
23             declined to answer all of the questions she
               was asked about her husband.       Dkt. 93-5.
24             Contrary    to   the   picture   painted   by
               [Defendant] in her Motion, she was not a
25             woman who agreed to comply in all respects in
               the face of stress.
26
               Once again, many of the cases cited by . . .
27             Defendant are inapposite. For example, in
               United States v. Garibay, 143 F.3d 534, the
28             case involved the waiver of Miranda rights
                                         26
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1               prior to a custodial interview.          143 F3d.
                534, 538 (9th Cir. 1998). In that case, the
2               defendant’s IQ was “borderline retarded” and
                he had difficulty understanding the English
3               language.    Id.    Here there is no evidence
                that the Defendant had a low IQ and the only
4               evidence that she didn’t speak English is
                that she uses an interpreter when speaking
5               with her lawyer and she cannot pass a law and
                ethics exam (although she did appear to get
6               the majority of the questions correct).        In
                Blackburn v. State of Ala., 361 U.S. 199
7               (1960), the Court held a statement was
                involuntary when the defendant was insane at
8               the    time   of    the    interview    and   the
                interrogation lasted between eight to nine
9               hours in a tiny room which was sometimes
                filled     with    police     officers.        In
10              [Defendant]’s case, there is no allegation
                that she is insane, that her interview lasted
11              multiple hours, or that she was surrounded by
                police officers.      In Henry v. Kernan, 197
12              F.3d 1021 (9th Cir. 1999), the Ninth Circuit
                held that a defendant’s confession was
13              involuntary when the interrogating officers
                ignored the defendant’s “clear and repeated
14              invocations of his Miranda rights” and made
                “misleading comments intended to convey the
15              impression    that    anything    said    by  the
                defendant would not be used against him for
16              any purposes.”    Id. at 1027-28.      One of the
                officers told the defendant that “what you
17              say can’t be used against you right now.”
                Id. at 1027. Here, the Defendant did not
18              invoke her Miranda rights and the agents did
                not make misleading comments to her.
19
     Gov’t Opp. 14:17-16:8.
20
                The record reveals that the interview was cordial other
21
     than when Defendant was told “not to lie,” Def.’s Decl. ¶ 10, to
22
     “take this seriously,” Paulin Decl. ¶ 23, or that “this [is] a
23
     serious matter,” Paresa Decl. ¶ 21, “that [she] could go to jail
24
     for   30   years,”   Def.’s      Decl.        ¶   10,   or    that   “it    appeared
25
     [Defendant]   had    committed    a   crime,”       Paulin      Decl.   ¶   23.   In
26
     connection with one or more of these statements, “[Defendant]
27
     . . . became very emotional and cried.                       [The Special Agents]
28
                                              27
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1    questioned [Defendant] while [she] cried and after [she] stopped

2    crying.”      Def.’s Decl. ¶ 10.        Defendant also told the Special

3    Agents several times during the interview that she “had to return

4    to work but each time [they] told [her] they had more questions.”

5    Def.’s Decl. ¶ 11.        The enquiry, then, is whether Defendant has

6    characteristics such that the Special Agents’ actions “overb[ore]

7    [her] will to resist and [brought] about [a] confession[] not

8    freely self-determined.”        Beckwith, 425 U.S. at 347–48 (quoting

9    Rogers, 365 U.S. at 544).

10                 Defendant indicates that consideration of the nature of

11   the interview and her special characteristics evince that her

12   statements were coerced.       Specifically, she makes the unsupported

13   argument that she may not have understood what the Special Agents

14   asked her, see, e.g., Mot. Suppress Statements 4:4-9, and that

15   her history of having been subjected to domestic abuse caused her

16   to “bec[o]me compliant,” Id. at 7:4.                 But the evidence shows

17   that Defendant has an adequate grasp of the English language—at

18   least   for    purposes   of   this   enquiry.       During    the    interview,

19   “[Defendant] . . . responded [to questions] in English.” Paresa

20   Decl. ¶ 18.       “[Defendant] spoke very good English” during the
21   interview, “never said that she had difficulty speaking English,”

22   and “never said she needed an interpreter.”            Id.; see also Paulin

23   Decl. ¶ 24.      Defendant’s former employer stated that during her

24   employment     “[Defendant]    interacted     with   clients    and    staff   in

25   English,” and that “the ability to read and write in English was

26   a requirement of the job.”        Id.      “She spoke English and wrote in
27   patients' charts in English.”         Id.    “[A]n individual who prepared

28   tax returns for [Defendant] . . . said that . . . in the time
                                           28
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1    period of 2006-07, [Defendant] spoke and read English.”                              Id. ¶

2    34.

3                  Defendant’s declaration attached to her Reply shows she

4    has an adequate grasp of English.                 She avers, for instance, that

5    “[a]t the end of [the] meeting, one of the agents handed me a

6    hand-written document.              The document only included some of my

7    answers.      It did not include every question that was asked and

8    every answer that I gave them.”                    Id. ¶ 12.          This assessment

9    requires an understanding of the questions asked, the ability to

10   read the document handed to her, and the ability to compare what

11   was   asked    to    what     was   written       down.        Moreover,    the      entire

12   declaration focuses on things that the Special Agents did and did

13   not tell Defendant.

14                 The record also supports the Government’s contention

15   that Defendant’s will was not overborne in connection with her

16   history of domestic abuse, and Defendant’s indication that this

17   abuse undermined her will when she made statements is unsupported

18   by the evidentiary record.                 As the Government indicates, the

19   police   records       cast    light    on    a    person      who,   while     at   times

20   reluctant to pursue prosecution of her spouse, was not afraid to
21   pursue   police      intervention,         organizational         help,   or    emergency

22   protective orders.          See Ex. D—Police Records, ECF No. 93-5.                    The

23   Government      also      correctly     concludes         that     the    record      shows

24   Defendant     was    not    always     compliant      with       police   requests      for

25   information.        Id.    Defendant does not speak about her history of

26   domestic violence in her declaration, and thus is silent as to
27   whether this history has significance to the statements she seeks

28   to    suppress.        Instead,      she     argues       in   her    motion,      without
                                                  29
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1    evidentiary or other support, that she “may experience higher

2    stress levels and anxiety in stressful situations . . . .                                   In

3    order to endure the stressful event, [Defendant] likely became

4    compliant, agreeing to comply in all respects . . . .”                                     Mot.

5    Suppress        Statements          6:24-7:4.           Unsupported     statements          and

6    arguments in briefs are not evidence.                          See, e.g., Barcamerica

7    Int'l USA Tr. v. Tyfield Importers, Inc., 289 F.3d 589, 593 n. 4

8    (9th Cir. 2002) (“[A]rguments and statements of counsel are not

9    evidence        . . . .”        (internal         quotation      mark      and       citation

10   omitted)).

11                Although Defendant was never told she did not have to

12   speak to the Special Agents or that she could leave at any time,

13   the absence of this communication is not sufficient, under the

14   totality        of     the     circumstances,           to    render    her      statements

15   involuntary.          See, e.g., Bustamonte, 412 U.S. at 226-27 (“[N]one

16   of [our decisions] turned on the presence or absence of a single

17   controlling criterion; each reflected a careful scrutiny of all

18   the surrounding circumstances.”).                       There are no facts in the

19   record     indicating               that       Defendant’s     age,     education,          or

20   intelligence weigh in favor of finding her will was overborne.
21   Although considered a neutral factor in the decision on whether

22   Defendant was in custody for Miranda purposes, the interview here

23   was not so long as to lead to the conclusion that Defendant’s

24   will was overborne.                 See, e.g., United States v. Plumman, 409

25   F.3d     919,        925     (8th    Cir.       2005)   (three    and    one-half          hour

26   interview).
27                For       the    stated       reasons,     the   Government      has    met    its

28   burden     of        showing,        by    a    preponderance      of    the        evidence,
                                                      30
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1    considering the totality of the circumstances, that Defendant’s

2    “statement[s] [were not obtained] by physical or psychological

3    coercion or by improper inducement so that the suspect’s will was

4    overborne.”       Bautista, 362 F.3d at 589 (quoting Male Juvenile,

5    280 F.3d at 1022).

6                   Lastly, Defendant requests an evidentiary hearing on

7    her motion.       However, "[a]n evidentiary hearing on a motion to

8    suppress need be held only when the moving papers allege facts

9    with sufficient definiteness, clarity, and specificity to enable

10   the trial court to conclude that contested issues of fact exist.”

11   United States v. Howell, 231 F.3d 615, 620 (9th Cir. 2000).

12   Here,    the    suppression   record     does   not    warrant   conducting   an

13   evidentiary      hearing    and    reveals   that     the   suppression   motion

14   should be denied.

15                                     III. CONCLUSION

16                  For the stated reasons, Defendant’s motion to suppress

17   is denied.

18   Dated: September 29, 2017
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